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                                                                                       U.S. DISTRICT COURT E.D.N.Y.
                                                   ENTERPRISES                                MAY 1 7 2019         ^

                                                                                          BROOKLYN OFFICE
           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK



           In re PAYMENT CARD INTERCHANGE
           FEE AND MERCHANT DISCOUNT                                    No. 05-MD-01720(MKB)(JO)
           ANTITRUST LITIGATION



             STATEMENT OF OBJECTIONS OF CLASS MEMBER VERC ENTERPRISES.INC.

                    Verc Enterprises, Inc.(hereinafter "Company") accepted Visa and Mastercard transaction
           cards between 2004 and the present date. Company is a member of the Rule 23(b)(3) settlement
           class in this case, and it has not engaged in any other settlement of its claims against Visa and/or
           Mastercard. Company hereby submits its objections to the proposed settlement preliminarily
           approved by the Court in January ofthis year.

                    Company is located at PO Box 2809 Duxbury, MA 02331. Company is a petroleum
           marketer engaged in the wholesale and retail sale of branded motor fuels. Since 1982, it has
           accepted Visa and Mastercard transaction cards at retail service station and convenience store
           locations. Motor fuels at these locations have been sold under the Exxon, Mobil, Getty, Gulf and
           Irving brands since 2004, and the credit card transactions at each location were processed by the
           applicable branded supplier.

                    Company is concerned that the Court will concur in the arguments of Defendants that
          certain major oil company branded suppliers are entitled to file claims against the settlement
          fund for transactions at retail locations where Company accepted the applicable Visa or
           Mastercard transaction cards and paid the interchange fees. Company understands that the Court
          has indicated that class counsel cannot represent both the branded suppliers and branded
          marketers, like Company, because only one of the two groups is entitled to settlement funds
          attributable to Company's retail locations. None of the class representatives were branded
          marketers, and branded marketer interests were not represented when the settlement was
          negotiated. Nor are they adequately represented now by a conflicted class counsel who are
          incapable of asserting branded marketer interests when they conflict with the interests of major
          oil companies.




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          As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
   recovery, or whether any mechanism is in place to sort all of this out. Nothing in the Class
   Notice states whether Company or its branded supplier (whose fuel Company sells) have a right
   to recover for transactions at these locations. In short. Company is concerned that it is being
   deprived of its legal right to fully participate in the settlement.

          In addition to not knowing what recovery Company may be entitled to as part of the class
   settlement, we do not believe that proper efforts are being made to notify branded marketers, like
   Company, so that they can object to the settlement. Although Company was sent a Class Notice
   from the Claims Administrator, other branded petroleum marketers have received no notice even
   though they accepted the cards, and paid the fees, during the relevant period The names and
   addresses of branded petroleum marketers, like Company, can be obtained by the Claims
   Administrator from the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and imtil these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                                   Respectfully submitted,

                                                   Verc Enterprises, Inc.


                                                   By: James H. Fitzgerald
